Case: 4:20-cv-00030-SA-JMV Doc #: 171 Filed: 12/07/21 1 of 7 PagelD #: 830

Pot
Tn The United States Disthict Const
FOR The N0Gl4ea, Distaich at MissisSipp!
Gaeenw lle Drussion

Dakhen Aang, et al, Dans Lh

WO: 4,'20-Cv-30 -Dmp Juv
Jewoesk; Melleh.ct al. Delon danks
MOTION FOR TRO/PRILTMIWARY LNSUNCTION

Ch mes Mow She Plarnkbe Aleclaic Ff Steele Wass
17668 7a She abece “= entitled actrons, and Moves

this COUuRF LER an pidele TAO | Fs birint Zyyjunction,
Dy supper? 0f this motion , Fhe Dledobbl would hoe
ns dollews, Pubsuant t6 fle Ce) (b) Fed. ACV?

1) Plairk Sib Xs O12) 50/24 af 11.5.2. Unit 30
49M SAL ben pMickea! Honeycutt aoting perce
olor of Bhake law, tin lawhally Seczed ard Cantisceted

f. Va nt AG Saraity talue Gad j (FCA S0ne/, Leper ty, Cowes
/vl atearal Qed S a ffl eS fMOERSS GAY Soke bus ACCIS £0
[our?s , bi tpout peng Laintle due JRLLCES of
PW D.b-b. Jelly and laa ediume to fave his papery

Case: 4:20-cv-00030-SA-JMV Doc #: 171 Filed: 12/07/21 2 of 7 PagelD #: 831

4
Putin Q stokage Ro00m ok Sért hone, °
2) MSA Stall Mycheal Honeycutt fokce
Platt fo A,heow his Couats /eg ai clecum ents
Sapples and Pedsonal fart; ty Va lie Hong 5
jn The hash Can, ,
3.) fs. Sfabl Micheal Honeycutt was
AGGRESSIVE bh veabal thktets woids
again st Jlarbbe, besills a Vek bal 255 6 tLd,

4) ZL, Plearrfte | was wenta/ faarg Aken tervh speck
and CY BGMAASS AS Plen Aurnfated yn Heonk
ot othek, sha Le A 7 hh tr ale foo hing 5 tel!

“aS then JR ISCERS,

5) Debodants US.f 5tebd Mekel Money eutl
Lave a £4/S0n weak Aecoad f/sheky 0 Vetbel
caval fhysital 1 G55G tl ben 5 FRS0neRS pete ar
Lakchman, he (U5, -2 Superintendent, link FO

wandens Khaows @ bout thi's stabl membed
wn photess:onal Conthact cod» Aes Assi ES aa
$2} s0neAas, Fal lod 40 ComRect his Aachen § .

6) D, Vaintbl, slates he Glhecdly Aare G (ARP) tonyplemt

Peachy 9 CAGG/a st A-F Schl por EXT CSS poke abt SC.

DDetendante 4.5.0 Stell pheckeal Horyet
acted prt enfronahy gfe PLES fall 70 Japa ve
Case: 4:20-cv-00030-SA-JMV Doc #: 171 Filed: 12/07/21 3 of 7 PagelD #: 832

pad
fhe Plaiakt of hes fi Repearty Aights , Sted”
fl: chen/ Mon egeult abused his ppbccal flow ek
under Coleie oh Shek fate 02 ftG ten fale
advantage or the Df arbi StL [Y Efee!

Hen eg CuO¥4 Gefed pechiless A isheeg ibd oth ok
Wilf CalloVvs jn Abpehenteé fs Aho. Daribilo 45
FA opeadly Aigh?s,
g) Dalat y Constitutona/, Argh ks Lenclem rhe
4%, Em, S%a,d jer Sinead meat wes Vi afer Aceh
by 5.2. SlatY ofbselal’s
A) Y*4 pro Pek%*°n shell bave phere fAopetet”
Lia biwtel SEZ ec! Gn A, ‘oe Si Khoyed, be Ph oF Whitten
C Onl, GACE:
B) 5%, Jee Wo thst shall ge aleJR/ve ot Aeuypthty
without dae PALES of ate’,
L)E% Ae Peksn shall be subyceted fo opue/
and. Lin listeal Pita shorn cnr,
Y) De p&alvation ca limitohtn oH (At ptihy sa
hetal aban Jw fhe EXCACIS€ OF Chnshtikiona/
Rights 1's uncon ba tional, (Bell v. We bhish y LY,
lt .5. S0S+SS- (1974) Agus tine VY. Doe, 740 © 2
322) 225-27 (SC 2, 1) Long V.Lotlons, GL2 fi 2d

3, UWI C2 990) Z/neiman V Buseck, YPY tt.§,

/19¢0) : M3, 13h
Case: 4:20-cv-00030-SA-JMV Doc #: 171 Filed: 12/07/21 4 of 7 PagelD #: 833

Ds
10) The Constitution 18 Yke ald mate
EXPRCSSAon of Khe Bible lLrateaash:
tan VAIS Case, the Ghaw of Rebel tw lf
Seave She Public pntemesk Secuuse
VALS aliveys (nthe Public preach fora
PAtson ptlicvrals #6 obey Whe law, Mespeck
/ p40 law, PathCbdasky by orkic/als
MOeSponS ble fog fhe ado sttakion of
the States coAheckonal System, 15 0
¥seke Q tatter of fhe Ai fiest ALGL«
pntede st,
//) PAIS O71C0S titll 5 feed “ah Lirtiabse”
jn} tay wi fhouk Gn yn 1 eancHion ) fIAESOACKS
lon shtih brea! Ao ht8 gae (ee ly “be
Lyolated ,'5 Usiuahy enough fo mee fhe
/AkePanable fevam Meg use pint, (SCE.
tinted V. Natakal Mesougices Debense
Counrcrl, Lae , 1245. C4 GY 3735 (2008)
Dasttatonal/zed Feasons Fino lbh ono
Rekalietion YAUS- CA, £1997 d (ore)
Case: 4:20-cv-00030-SA-JMV Doc #: 171 Filed: 12/07/21 5 of 7 PagelD #: 834

P45
FoR He lonege: cag Aeasons , the Couar
shotld Ghent fhe Dlaitk tyotion /y
all Mespeds
Luh sizent to AE GSC, IT, Tete ee
unded Panay ak feds ry Mat Méhe poke gains
hy Atue Gad Caknect,

hespechbally Sabvatbed

Ef fede 2 6b.
Platte

Date !/2/ fal
Case: 4:20-cv-00030-SA-JMV Doc #: 171 Filed: 12/07/21 6 of 7 PagelD #: 835

L CR tlicate of Seauice

L, Keedéere - Steele a heneby ceahty thot IT fave
Ma let. a TRUE, and CO Lilet Copy of She Hodegorag
pnotion for TROL Fain nay Tnjuction By Placimy
U.S. Me, Postege fae paid fo the folloce'ag pnhivduals,
adteessts):

ul 5S, Distaict Loust, Clealkk MMakon Marvel Baed ley

203 Citrome Dave Andlexson t Texady, LLC
Aid, é land, SU9 39/57
'S3S,'58/ p01 HA¢OANe :

8 “4 Mee Uy led States Distal Co we?
Coenen Wopthena Disbaict of Miss
p. d. Box A220 CA C27. v/lle ce eae
Jackson, MS FIPOS 305 Mara SRee

enone (US 38701
So Le eadfred, Ais he Q f fe Lecerrhei 262}
eF

Dl lalat be
Case: 4:20-cv-00030-SA-JMV Doc #: 171 Filed: 12/07/21 7 of 7 PagelD #: 836

Za The Lbypled Sholes Listaiok Cuat
Fon Fhe Noathean Dishatct ot Mss spp!
Cheeniv'tle Diri's/on

No. 4 20-CV-30 -DMB-~ JUV

Dean Un, ted Shakes Dishaick Lp usr
Clea ZT Any phag a Mohion loa TRA/
L4sbirn ney LA jane Kon. -yVease hie Loc!’
Send p10 Griok’ce Lack Theses tual Mey
Cod Bley Go4 Got ylan fur ly.
hes publely Sb bed,
AKeda ee tole
jl .5, 42
50 b Beller 5 Sune Bf Op
22, For O87
Latch win, SUS. BI73 F
